~ AO 245 8
              Case      5:15-cr-50044-TLB
              ( Rev. 06/05) Judgment in a C1iminal Case Document 43         Filed 01/19/16 Page 1 of 6 PageID #: 202
              Sheet I



                                            UNITED STATES DISTRICT COURT
                        WESTERN                                     District of                              ARKANSAS
          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                 V.
                        ANGEL LEE                                           Case Number:                    5: 15CR50044-001

                                                                            USM Number:                     12703-010

                                                                            Andrew R. Miller and John E. Baureis
                                                                            Defendant's Attorneys
THE DEFENDANT:
X pleaded gui lty to count(s)           Two (2) of the Indictment on August 11 , 2015

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                     Offense Ended               Count
21 U.S.C. § 84l(a)(l)                 Distribution of a Mixture or Substance Containing                      03/ 16/20 15                  2
                                      Methamphetamine




        The defendant is sentenced as provided in pages 2 through         6                of this judgment. The sentence is imposed within the
statutory range and the U.S. Sentencing Guidelines were considered as advisory.
D The defendant has been found not guilty on count(s)
X Count(s)     One (l) of the Indictment and Forfeiture Allegation are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofnan1e, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in econorruc circumstances.




                                                                            Honorable Timothy L. Brooks, United States District Judge
                                                                            Name a nd Title of Judge

                                                                                   \ _. lq .-)fib
                                                                            Date
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           Sheet 2 - lmp1isonment

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DEFENDANT:                     ANGEL LEE
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                                                             IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned fo r a
total term of:     sixty-seven (67) months




       X The court makes the fo llowing reconunendations to the Bureau of Prisons :
           That the defendant be designated to a fac ili ty where he has the opportuni ty to be considered fo r placement in the RDAP.
           The Court is aware from the PSR that an info rmant made reference to the Defendant possessing a gun; however, no additional crime
           was charged and the Court fo und insuffic ient evidence to apply a guideline enhancement fo r sinmltaneous possession of a gun and
           drugs. Thus, subj ect to Bureau of Prisons guidelines, the Court recommends that the Defendant be full y eligib le fo r all of the benefi ts
           associated with successfu l completion of the RDAP Program .

       X The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal fo r this district:
           D a
                    ---------- D a.m.                           D p.m.        on

           D as notified by the United States Marshal.

       D The defendant shall surrender fo r service of sentence at the institution designated by the Bureau of Prisons:
           D before 1 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this j udgment as fo llows:




           Defendant delivered                                                              to

 at   - - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                       UN ITED STATES MA RSHAL



                                                                            By
                                                                                                  DEPUTY UN ITE D STATES MA RSHA L
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               Sheet 3 - Supe1v ised Release
                                                                                                              Judgment- Page ____..____ of        6
DEFENDANT:                      ANGEL LEE
CASE NUMBER:                    5: 15CR50044-00 I
                                                          SUPERVISED RELEASE
Upon release fro m imprisonment, the defendant shall be on supervised release fo r a tenn of:              three (3) years




The defendant must report to the probation offi ce in the district to which the defendant is released within 72 hours ofrelease fro m the custody
of the Bureau of Prisons.
The defendant shall not commit another federal , state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain fro m any unlawful use of a contro lled
substance. T he defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as detennined by the court.
 O        The above drug testing condition is suspended, based on the court' s detennination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
X         The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 0        The defe ndant shall compl y with mandatory sex offender reg istration laws. (Check, if applicable.)

 0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)


    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgm ent.
      T he defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            ST AND ARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and fo llow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other fan1il y responsibilities;
     5)     the defendant shall wo rk regu larl y at a lawfu l occupation, unless excused by the probation officer fo r schooling, training, or other
            accepta ble reasons;
     6)     the defendant shall notify the probation offi cer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain fro m excessive use of alcohol and shall not purchase, possess, use, distribute, or admi nister any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegall y so ld, used, distributed , or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate wi th an y person convicted of a
            fe lony, unless granted pennission to do so by the probation officer;
  10)       the defendant shall pennit a probation offi cer to visit him or her at an y time at home or elsewhere and shall pennit confi scation of an y
            contraband observed in plain view of the probation officer;
  11 )      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enfo rcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            pennission of the court; and
  13)       as directed by the probation officer, the defendant shall notify thi rd parties of risks that may be occasioned by the defendant's crinlinal
            record or personal hi story or characteristics and shall pennit the probation offi cer to make such notifications and to confirm the
            defendant's compliance with such notification requirement.
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            Sheet 3C - Supervised Release
                                                                                                      Judgment- Page     4     of
DEFENDANT:                  ANGELLEE
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                                           SPECIAL CONDITIONS OF SUPERVISION


1. The defendant shall submit to inpatient or outpatient substance abuse eva luation, counseling, testing, and/or treatment as deemed necessary
and as directed by the U.S . Probation Officer.

2. The defendant shall submit his person, residence, place of employment, and vehi cle to a search conducted by the United States Probation
Officer at a reasonable time and in a reasonable manner based upon reasonable suspicion that a violation of a condition of supervised release
might thereby be disclosed.
AO245 8       Case
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           Sheet 5 - Crimina l Monetary Pena lti es

                                                                                                          Judgment -   Page     5      of
DEFENDANT:                          ANGEL LEE
CASE NUMBER :                       5: l 5CR50044-00 l
                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the to tal criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                              Fine                                Restitution
TOTALS             $ 100.00                                               $ 2,300.00                          $ -0-



D The detemlination of restitution is deferred until
     after such determination.
                                                                ---. An Amended Judgment in a Criminal Case (AO 245C) wi ll be entered

D    The defendant must make restitution (i11cluding community restitution) to the fo llowing payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment co lumn below. However, pursuant to 18 U .S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.


Name of Pavee                                    Total Loss*                        Restitution Ordered                       Prioritv or Percentage




                                      $                                          $ _ _ _ _ _ _ __
 TOTALS


 0    Restitution amount ordered pursuant to plea agreement $

 0    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in fu ll before the
      fi fteenth day after the date of the judgment, pursuant to 18 U.S .C. § 36 12(f) . All of the payment options on Sheet 6 may be subj ect
      to penalties fo r delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

 X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      X the interest requirement is waived fo r the                 X fine    D restitution.
      D    the interest requirement fo r the             D    fme    D restitution is modified as fo llows:


 *Findings fo r the total amount of losses are required under Chapters 109 A, 11 0, 11 OA, and \ l 3A ofTitle 18 fo r offenses comnlitted on or after
 September 13, 1994 , but before April 23 , 1996.
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           Sheet 6 - Schedu le of Payments


                                                                                                          Judgment -   Page    6     of        6
DEFENDANT:                   ANGELLEE
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                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's abi li ty to pay, payment of the total crimina l monetary penalties are due as fo llows:

A     X    Lump sum payment of$            2,400.00              due immediately, balance due

           O     not later than                                      , or
           X     in accordance           D    C,       D    D,   D     E, or    X F below; or
B     D    Payment to begin immediately (may be combined with                  oc,     DD, or      D F below); or
C     O    Payment in equal                    (e.g. , weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years) , to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release wi ll commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court wi ll set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X    Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty shall be paid by the defendant during his term of imprisonment at a rate of
           up to 50% of the defendant's availab le funds, in accordance with the Inmate Financial Responsibility Program. During residential
           reentry placement, payments will be I 0% of the defendant's gross monthly income. The payment of any remaining balance shall
           become a condition of supervised release and shall be paid in monthly installments of $65 .00 or 15% of the defendant's net
           monthly household income, whichever is greater, with the entire balance to be paid in full no later than one month prior to the end
           of the period of supervised release.

Unless the court has expressly ordered otherwise, if this judgment imposes inlprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number) , Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate .




 D    The defendant shall pay the cost of prosecution.

 0    The defendant sha ll pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the fo llowing property to the United States:



 Payments shall be applied in the fo llowing order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,

 (5) fine interest, (6) conununity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
